                   1   LATHAM & WATKINS LLP
                        Katherine A. Lauer (Bar No. 138010)
                   2       katherine.lauer@lw.com
                        Jason M. Ohta (Bar No. 211107)
                   3       jason.ohta@lw.com
                        Amy E. Hargreaves (Bar No. 266255)
                   4       amy.hargreaves@lw.com
                        12670 High Bluff Drive
                   5    San Diego, CA 92130
                        Telephone: (858) 523-5400
                   6    Facsimile: (858) 523-5450

                   7   Steven M. Bauer (Bar No. 135067)
                          steven.bauer@lw.com
                   8   505 Montgomery Street, Suite 2000
                       San Francisco, CA 94111
                   9   Telephone: (415) 391-0600
                       Facsimile: (415) 395-8095
               10
                       Attorneys for Defendants Sutter Health and
               11      Palo Alto Medical Foundation

               12
                                                  UNITED STATES DISTRICT COURT
               13
                                                NORTHERN DISTRICT OF CALIFORNIA
               14
                                                          SAN FRANCISCO DIVISION
               15

               16       UNITED STATES OF AMERICA ex rel.              Case No. 3:15-cv-01062-LB
                        KATHY ORMSBY,
               17                                                     [PROPOSED] ORDER GRANTING
                                             Plaintiff,               DEFENDANTS’ UNOPPOSED MOTION
               18                                                     TO STAY PROCEEDINGS
                                      v.
               19                                                     Hon. Laurel Beeler
                        SUTTER HEALTH and PALO ALTO
               20       MEDICAL FOUNDATION,

               21                            Defendants.

               22

               23

               24

               25

               26

               27

               28
ATTORNEYS AT LAW
                                                                             [PROPOSED] ORDER GRANTING DEFENDANTS’
                                                                              UNOPPOSED MOTION TO STAY PROCEEDINGS
                                                                                                     3:15-CV-01062 LB
                   1                                               ORDER

                   2           Having considered the papers in support of Defendants Sutter Health’s (“Sutter”) and Palo

                   3   Alto Medical Foundation’s (“PAMF”) (collectively, “Defendants”) Unopposed Motion to Stay

                   4   Proceedings (“Motion”) and good cause appearing therefor, Defendants’ Motion is hereby

                   5   GRANTED. The case will be stayed in its entirety until May 29, 2020. The parties have agreed

                   6   that during the stay they will negotiate in good faith an appropriate protective order, an

                   7   electronically stored information (ESI) protocol, and a clawback agreement. In addition, the Case

                   8   Management Conference, currently set for April 9, 2020, shall be continued to June 4, 2020, and

                   9   the parties’ Case Management Conference statement shall be due on May 29, 2020. Defendants’

               10      request to certify the Court’s March 16, 2020 Order for appeal, if any, shall be due on June 1,

               11      2020.

               12              IT IS SO ORDERED.

               13

               14      DATED: ______________, 2020                          __________________________
                                                                            Hon. Laurel Beeler
               15                                                           United States Magistrate Judge
               16

               17

               18

               19

               20

               21

               22

               23

               24

               25

               26

               27

               28

ATTORNEYS AT LAW
                                                                                  [PROPOSED] ORDER GRANTING DEFENDANTS’
                                                                        1          UNOPPOSED MOTION TO STAY PROCEEDINGS
                                                                                                          3:15-CV-01062 LB
